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                   )RXQGDWLRQ 6KLSSHU 6WDWXV 
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                   &RPPHQFHPHQW RI &RQVWUXFWLRQ 7UDQVSRUWHU¶V 2EOLJDWLRQ WR 3URFHHG
                   7HUPLQDWLRQ 5LJKWV 
                   'HOLYHU\ DQG ([HFXWLRQ RI 6HUYLFH $JUHHPHQWV
                   5HLPEXUVHPHQW E\ 6KLSSHU RI 5HLPEXUVDEOH &RVWV 
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                  0LVFHOODQHRXV 

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                              72 &2175$&7 )25 ),50 75$163257$7,21 6(59,&(

                    7KLV 3UHFHGHQW $JUHHPHQW WR &RQWUDFW IRU )LUP 7UDQVSRUWDWLRQ 6HUYLFH WKLV ³$JUHHPHQW´
             LV HQWHUHG LQWR DV RI August 11  WKH ³(IIHFWLYH 'DWH´  E\ DQG EHWZHHQ 7(11(66(( *$6
             3,3(/,1( &203$1< //& D 'HODZDUH OLPLWHG OLDELOLW\ FRPSDQ\ ³7UDQVSRUWHU´ RU
             ³7*3´  DQG 7HQQHVVHH 9DOOH\ $XWKRULW\ ³6KLSSHU´ RU ³79$´ 

                     :+(5($6 7UDQVSRUWHU DQG 6KLSSHU PD\ EH UHIHUUHG WR LQGLYLGXDOO\ DV D ³3DUW\´ RU
             FROOHFWLYHO\ DV WKH ³3DUWLHV´

                     :+(5($6 7UDQVSRUWHU RZQV DQG RSHUDWHV DQ LQWHUVWDWH QDWXUDO JDV WUDQVPLVVLRQ SLSHOLQH
             V\VWHP UHJXODWHG E\ WKH )HGHUDO (QHUJ\ 5HJXODWRU\ &RPPLVVLRQ WKDW H[WHQGV LQ D QRUWKHDVWHUO\
             GLUHFWLRQ IURP WKH LQWHUQDWLRQDO ERXQGDU\ ZLWK 0H[LFR LQ VRXWK 7H[DV WKURXJK WKH 6WDWHV RI 7H[DV
             /RXLVLDQD $UNDQVDV 0LVVLVVLSSL $ODEDPD 7HQQHVVHH .HQWXFN\ :HVW 9LUJLQLD 2KLR
             3HQQV\OYDQLD 1HZ -HUVH\ 1HZ <RUN &RQQHFWLFXW 5KRGH ,VODQG 0DVVDFKXVHWWV DQG 1HZ
             +DPSVKLUH ³7UDQVSRUWHU¶V 6\VWHP´ 

                     :+(5($6 7UDQVSRUWHU LV GHYHORSLQJ LWV &XPEHUODQG 3LSHOLQH 3URMHFW ³3URMHFW´ WR
             SURYLGH XS WR   GHNDWKHUPV SHU GD\ ³'WKGD\´ RI ILUP WUDQVSRUWDWLRQ VHUYLFH RQ D QHZ
             LQFUHPHQWDO ODWHUDO WR EH ORFDWHG RQ 7UDQVSRUWHU¶V  /LQH LQ =RQH  QHDU 0/9  WKH
             ³&XPEHUODQG /DWHUDO &DSDFLW\´ DQG D UHODWHG   'WKGD\ RI ILUP WUDQVSRUWDWLRQ
             VHUYLFH XVLQJ H[LVWLQJ XQVXEVFULEHG PDLQOLQH FDSDFLW\ RQ LWV  /HJ V\VWHP DQG  /HJ V\VWHP
              WKH ³0DLQOLQH &DSDFLW\´  7KH &XPEHUODQG /DWHUDO &DSDFLW\ DQG WKH 0DLQOLQH &DSDFLW\ UHIHUUHG
             WR KHUHLQ DV WKH ³3URMHFW &DSDFLW\´

                     :+(5($6 WKH 3URMHFW DV FRQWHPSODWHG PD\ UHTXLUH WKH LQVWDOODWLRQ RI DSSUR[LPDWHO\ 
             PLOHV RI D QHZ ´ SLSHOLQH ODWHUDO IURP WKH WDNHRII RI 7UDQVSRUWHU¶V  /LQH LQ =RQH  QHDU 0/9
              D EDFNSUHVVXUH UHJXODWRU DVVHPEO\ QHDU 0/9  DQG D QHZ PHWHU VWDWLRQ RQ WKH &XPEHUODQG
             /DWHUDO WRJHWKHU ZLWK DQ\ RWKHU IDFLOLWLHV 7UDQVSRUWHU GHHPV QHFHVVDU\ WR SURYLGH WKH 3URMHFW
             &DSDFLW\ DUH UHIHUUHG WR KHUHLQDIWHU DV WKH ³3URMHFW )DFLOLWLHV´

                    :+(5($6 7UDQVSRUWHU LQWHQGV WR KROG D ELQGLQJ RSHQ VHDVRQ ³2SHQ 6HDVRQ´ LQ
             FRQQHFWLRQ ZLWK WKH 3URMHFW WR RIIHU LQWHUHVWHG SDUWLHV XS WR WKH 3URMHFW &DSDFLW\ DQG

                    :+(5($6 6KLSSHU GHVLUHV WR REWDLQ WKH 7UDQVSRUWDWLRQ 4XDQWLW\ DV GHILQHG EHORZ LQ
             6HFWLRQ  ( RI WKLV $JUHHPHQW WKH ³)LUP 6HUYLFH´ 

                    :+(5($6 6KLSSHU DFNQRZOHGJHV WKDW WKH UHQGLWLRQ E\ 7UDQVSRUWHU RI WKH )LUP 6HUYLFH
             DV UHTXHVWHG E\ 6KLSSHU ZLOO UHTXLUH 7UDQVSRUWHU WR FRQVWUXFW DQGRU DFTXLUH WKH 3URMHFW )DFLOLWLHV
             DQG

                    :+(5($6 WKH 3DUWLHV DJUHH WKDW WKLV $JUHHPHQW VKDOO EH GHHPHG D TXDOLI\LQJ ELQGLQJ
             ELG E\ 6KLSSHU LQ WKH 2SHQ 6HDVRQ




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                                      ZLOO QRW EH UHTXLUHG XQOHVV 6KLSSHU IDLOV WR PDLQWDLQ 0LQLPXP &UHGLW 5DWLQJ
                                      6WDQGDUGV

                   &RPPHQFHPHQW RI &RQVWUXFWLRQ 7UDQVSRUWHU¶V 2EOLJDWLRQ WR 3URFHHG

                     7UDQVSRUWHU VKDOO EH XQGHU QR REOLJDWLRQ WR FRPPHQFH RU FRQWLQXH DW DQ\ WLPH WKH
                     DFTXLVLWLRQ RI SLSH DQG PDWHULDOV WKH DFTXLVLWLRQ RI ULJKWVRIZD\ WKH FRQVWUXFWLRQ RI WKH
                     3URMHFW )DFLOLWLHV RU DQ\ RWKHU DFWLYLW\ LQYROYLQJ HLWKHU WKH FRPPLWPHQW RU DFWXDO
                     H[SHQGLWXUH RI IXQGV E\ RU RQ EHKDOI RI 7UDQVSRUWHU WKDW PD\ EH UHTXLUHG WR FRQVWUXFW RU
                     SURFXUH WKH 3URMHFW )DFLOLWLHV RU WR SURYLGH WKH SURSRVHG ILUP WUDQVSRUWDWLRQ VHUYLFH IRU
                     6KLSSHU XQOHVV

                               L     7UDQVSRUWHU KDV UHFHLYHG RU LQ LWV VROH GLVFUHWLRQ ZDLYHG UHFHLSW RI D WKH
                                      6KLSSHU 0DQDJHPHQW $SSURYDO DQG WKH 7UDQVSRUWHU 0DQDJHPHQW $SSURYDO
                                      LQ DFFRUGDQFH ZLWK 6HFWLRQV  $ L DQG  $ LL  UHVSHFWLYHO\ DQG E DOO
                                      )(5& $XWKRUL]DWLRQV DQG 2WKHU *RYHUQPHQWDO $XWKRUL]DWLRQV LQ
                                      DFFRUGDQFH ZLWK 6HFWLRQV  $ LLL DQG  $ LY 

                               LL    7UDQVSRUWHU DQG 6KLSSHU KDYH H[HFXWHG DOO UHTXLUHG DJUHHPHQWV LQ
                                      DFFRUGDQFH ZLWK 6HFWLRQ  LQFOXGLQJ WKH 6HUYLFH $JUHHPHQWV DQG DQ\ RWKHU
                                      3URMHFW $JUHHPHQWV DQG RWKHUZLVH 6KLSSHU KDV FRPSOLHG ZLWK LWV
                                      REOLJDWLRQV XQGHU WKLV $JUHHPHQW DQG

                               LLL   7UDQVSRUWHU KDV REWDLQHG DOO UHDO SURSHUW\ ULJKWV UHTXLUHG IRU WKH
                                      FRQVWUXFWLRQ RZQHUVKLS DQG RSHUDWLRQ RI WKH 3URMHFW LQFOXGLQJ DQ\ ULJKWV
                                      WKDW PXVW EH DFTXLUHG WKURXJK HPLQHQW GRPDLQ

                   7HUPLQDWLRQ 5LJKWV

                     $        7UDQVSRUWHU 7HUPLQDWLRQ 5LJKWV

                               7UDQVSRUWHU VKDOO KDYH WKH ULJKW WR WHUPLQDWH WKLV $JUHHPHQW DFFRUGLQJ WR WKH
                               SURYLVLRQV EHORZ

                               L     6KLSSHU 0DQDJHPHQW $SSURYDO 7UDQVSRUWHU PD\ WHUPLQDWH WKLV $JUHHPHQW
                                      LI 6KLSSHU KDV QRW UHFHLYHG DOO QHFHVVDU\ DSSURYDOV IURP LWV H[HFXWLYH
                                      PDQDJHPHQW DQGRU ERDUG RI GLUHFWRUV IRU WKH H[HFXWLRQ RI WKH 3URMHFW
                                      $JUHHPHQWV ³6KLSSHU 0DQDJHPHQW $SSURYDO´ E\
                                       ³6KLSSHU 0DQDJHPHQW $SSURYDO 'DWH´ 

                               LL    7UDQVSRUWHU 0DQDJHPHQW $SSURYDO 7UDQVSRUWHU PD\ WHUPLQDWH WKLV
                                      $JUHHPHQW LI 7UDQVSRUWHU KDV QRW UHFHLYHG DOO QHFHVVDU\ DSSURYDOV IURP LWV
                                      H[HFXWLYH PDQDJHPHQW DQGRU ERDUG RI GLUHFWRUV IRU WKH FRQWLQXHG
                                      GHYHORSPHQW RI WKH 3URMHFW XQGHU WKH WHUPV RI WKLV $JUHHPHQW
                                       ³7UDQVSRUWHU 0DQDJHPHQW $SSURYDO´ E\
                                       ³7UDQVSRUWHU 0DQDJHPHQW $SSURYDO 'DWH´ 



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                  1RWLFHV

                     $Q\ QRWLFH DQGRU UHTXHVW SURYLGHG IRU LQ WKLV $JUHHPHQW RU DQ\ QRWLFH HLWKHU 3DUW\ PD\
                     GHVLUH WR JLYH WR WKH RWKHU VKDOO EH WUDQVPLWWHG LQ ZULWLQJ RYHUQLJKW GHOLYHU\ 86 0DLO RU
                     HOHFWURQLF PDLO VXFK WKDW LW LV UHFHLYHG EHIRUH  SP &HQWUDO WLPH RQ WKH GXH GDWH

                     7UDQVSRUWHU

                               7HQQHVVHH *DV 3LSHOLQH &RPSDQ\ //&
                                /RXLVLDQD 6WUHHW
                               +RXVWRQ 7; 
                               $WWQ 3UHVWRQ 7URXWPDQ
                               'LUHFWRU %XVLQHVV 'HYHORSPHQW
                               3UHVWRQ 7URXWPDQ#NLQGHUPRUJDQFRP

                     6KLSSHU

                               7HQQHVVHH 9DOOH\ $XWKRULW\
                                0DUNHW 6WUHHW
                               &KDWWDQRRJD 71 

                               $WWHQWLRQ    .DUHQ 6WDPSILO
                               3KRQH 1XPEHU 
                               (PDLO NVWDPSIOL#WYDJRY

                     1RWLFH VKDOO EH HIIHFWLYH DV RI WKH GDWH RI FRQILUPHG UHFHLSW RU LQ WKH DEVHQFH RI FRQILUPHG
                     UHFHLSW DV RI WKH GDWH DFWXDOO\ UHFHLYHG

                  $VVLJQPHQW

                     1HLWKHU 3DUW\ VKDOO DVVLJQ RU WUDQVIHU DOO RU DQ\ RI LWV ULJKWV LQWHUHVWV GXWLHV RU REOLJDWLRQV
                     XQGHU WKLV $JUHHPHQW ZLWKRXW WKH SULRU ZULWWHQ FRQVHQW RI WKH RWKHU 3DUW\ ZKLFK VKDOO QRW
                     EH XQUHDVRQDEO\ ZLWKKHOG FRQGLWLRQHG RU GHOD\HG H[FHSW WR D 6XFFHVVRULQ,QWHUHVW WR
                     ZKLFK VXFK 3DUW\ PD\ IUHHO\ DVVLJQ WUDQVIHU RU QRYDWH WKLV $JUHHPHQW ³Successor-in-
                     Interest´ PHDQV DQ\ HQWLW\ WR ZKRP DOO RU VXEVWDQWLDOO\ DOO RI WKH DVVHWV FRPSULVLQJ WKH
                     3DUW\ DV H[LVWLQJ DW WKDW WLPH DUH VROG RU WUDQVIHUUHG $Q\ DVVLJQPHQW LQ YLRODWLRQ RI WKLV
                     6HFWLRQ  VKDOO EH YRLG 7UDQVSRUWHU¶V FRQGLWLRQLQJ FRQVHQW RQ DVVLJQHH¶V RU UHSODFHPHQW
                     VKLSSHU¶V PHHWLQJ WKH FUHGLW UHTXLUHPHQWV VHW IRUWK LQ 6HFWLRQ  & RI WKLV $JUHHPHQW VKDOO
                     EH GHHPHG UHDVRQDEOH 7KH UHVWULFWLRQV RQ DVVLJQPHQW FRQWDLQHG LQ WKLV 6HFWLRQ  VKDOO
                     QRW LQ DQ\ ZD\ SUHYHQW HLWKHU 3DUW\ WR WKLV $JUHHPHQW IURP SOHGJLQJ RU PRUWJDJLQJ LWV
                     ULJKWV KHUHXQGHU DV VHFXULW\ IRU LWV LQGHEWHGQHVV 2QFH WKH 6HUYLFH $JUHHPHQWV DUH
                     H[HFXWHG E\ ERWK 3DUWLHV DQG VHUYLFH KDV FRPPHQFHG WKHUHXQGHU DQ\ DVVLJQPHQW RI VXFK
                     6HUYLFH $JUHHPHQWV DUH VXEMHFW WR WKH WHUPV DQG FRQGLWLRQV RI 7UDQVSRUWHU¶V 7DULII DQG WKH
                     WHUPV RI WKLV SURYLVLRQ VKDOO QR ORQJHU FRQWURO 7KH 3DUWLHV DJUHH WR FRRSHUDWH LQ WKH
                     SUHSDUDWLRQ DQG ILOLQJ RI DOO QHFHVVDU\ DSSOLFDWLRQV IRU DXWKRUL]DWLRQV UHODWHG WR DQ\
                     DVVLJQPHQW FRQIRUPLQJ WR WKLV 6HFWLRQ  DQG VXEMHFW WR WKH WHUPV DQG FRQGLWLRQV KHUHLQ
                     DJUHH WR SURFHHG ZLWK GXH GLOLJHQFH WR SURVHFXWH VXFK DSSOLFDWLRQ V  LI QHFHVVDU\

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                  0LVFHOODQHRXV

                     $        0RGLILFDWLRQ

                               1R PRGLILFDWLRQ RI WKH WHUPV DQG SURYLVLRQV RI WKLV $JUHHPHQW VKDOO EH PDGH H[FHSW
                               E\ WKH H[HFXWLRQ E\ ERWK 3DUWLHV RI D ZULWWHQ DJUHHPHQW

                     %        &KRLFH RI /DZ

                               7+( 3$57,(6 5(&2*1,=( 7+$7 79$ $6 $ )('(5$/ (17,7< ,6
                               *29(51(' %< 7+( 79$ $&7 $1' )('(5$/ /$: 7+,6
                               $*5((0(17 6+$// %( *29(51(' %< $1' &216758(' ,1
                               $&&25'$1&( :,7+ 7+( /$:6 2) 7+( 67$7( 2) 7(;$6
                               :,7+287 *,9,1* ())(&7 72 $1< &+2,&( 25 &21)/,&7 2) /$:
                               3529,6,21 25 58/( :+(7+(5 2) 7+( 67$7( 2) 7(;$6 25 $1<
                               27+(5 -85,6',&7,21  3529,'(' 7+$7 7+( )25(*2,1* 6+$//
                               127 35(9(17 7+( $33/,&$7,21 2) )('(5$/ /$: :+(5(
                               $33/,&$%/(

                     &        7HUP

                               8QOHVV WHUPLQDWHG VRRQHU SXUVXDQW WR WKH WHUPV KHUHLQ WKLV $JUHHPHQW VKDOO
                               WHUPLQDWH XSRQ WKH &RPPHQFHPHQW 'DWH SURYLGHG KRZHYHU WKH SURYLVLRQV LQ
                               6HFWLRQ  & UHODWHG WR 6KLSSHU FUHGLW UHTXLUHPHQWV DQG REOLJDWLRQV VKDOO VXUYLYH
                               WKH WHUPLQDWLRQ RI WKLV $JUHHPHQW 7R WKH H[WHQW WKLV $JUHHPHQW LV WHUPLQDWHG
                               SXUVXDQW WR 6HFWLRQ  DERYH SULRU WR WKH &RPPHQFHPHQW 'DWH WKH RQO\ SURYLVLRQV
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                               UHSUHVHQWDWLRQV ZKHWKHU ZULWWHQ RU RUDO UHVSHFWLQJ WKH VXEMHFW PDWWHU KHUHRI DUH
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                                                      GAS TRANSPORTATION AGREEMENT
                                                      (For Use Under FT-A Rate Schedule)


                     THIS AGREEMENT is made and entered into as of the ________day of ________, ______, by and between
             TENNESSEE GAS PIPELINE COMPANY, L.L.C., a Delaware limited liability company, hereinafter referred to as
             "Transporter" and Tennessee Valley Authority, a ________________ ___________, hereinafter referred to as
             "Shipper." Transporter and Shipper shall collectively be referred to herein as the "Parties."

                      WHEREAS, Shipper and Transporter entered into a Precedent Agreement dated [insert date] (the
             “Precedent Agreement”), pursuant to which Transporter agreed to (i) provide shipper certain firm transportation
             service on a new incremental lateral located near MLV 83 at the takeoff of Transporter’s 100 Line in Zone 1 (the
             “Cumberland Lateral”) to serve Shipper’s proposed Cumberland Combined Cycle Power Plant located in Stewart
             County, TN, and (ii) to construct and operate any facilities necessary to provide such firm transportation service
             (“Project Facilities”);

                      WHEREAS, Shipper desires to contract for upstream firm transportation capacity on Transporter’s mainline
             system for up to 221,000 dekatherms per day (“Dth/day”) (the “Shipper Upstream Capacity”) from one or more
             mutually agreeable receipt points on Transporters 100 Line in Zone 0 and Zone 1 to a new delivery point to be
             located at the interconnection of Transporter’s mainline system with the Cumberland Lateral;

                      NOW THEREFORE, Transporter and Shipper agree as follows:

                                                                    ARTICLE I

                                                                  DEFINITIONS

             1.1      TRANSPORTATION QUANTITY - shall mean the maximum daily quantity of gas which Transporter agrees to
                      receive and transport on a firm basis, subject to Article II herein, for the account of Shipper hereunder
                      on each day during the term hereof, as specified on Exhibit “A” attached hereto. Any limitations on the
                      quantities to be received from each Point of Receipt and/or delivered to each Point of Delivery shall be as
                      specified on Exhibit “A” attached hereto.

             1.2      EQUIVALENT QUANTITY - shall be as defined in Article I of the General Terms and Conditions of Transporter's
                      FERC Gas Tariff.

             1.3       COMMENCEMENT DATE – shall mean the later of: (i) September 1, 2025; or (ii) the date on which all of
             the Project Facilities are place in-service (“Commencement Date”). Transporter shall provide Shipper no less than
             five (5) days advance written notice of the Commencement Date and the TQ that will be available.

                                                                   ARTICLE II

                                                               TRANSPORTATION

             Commencing upon the Commencement Date, Transporter agrees to accept and receive daily on a firm basis in
             accordance with Rate Schedule FT-A, at the Point(s) of Receipt from Shipper or for Shipper's account such quantity
             of gas as Shipper makes available up to the Transportation Quantity, and to deliver to or for the account of Shipper
             to the Point(s) of Delivery an Equivalent Quantity of gas.

                                                                   ARTICLE III

                                                     POINT(S) OF RECEIPT AND DELIVERY

             The Primary Point(s) of Receipt and Delivery shall be those points specified on Exhibit “A” attached hereto.

                                                                   ARTICLE IV

                                                                   FACILITIES

             All facilities are in place to render the service provided for in this Agreement and Transporter shall have no obligation
             to build facilities to perform this service.




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                                                                  ARTICLE V

                                      QUALITY SPECIFICATIONS AND STANDARDS FOR MEASUREMENT

             For all gas received, transported and delivered hereunder the Parties agree to the Quality Specifications and
             Standards for Measurement as specified in the General Terms and Conditions of Transporter's FERC Gas Tariff. To
             the extent that no new measurement facilities are installed to provide service hereunder, measurement operations
             will continue in the manner in which they have previously been handled. In the event that such facilities are not
             operated by Transporter or a downstream pipeline, then responsibility for operations shall be deemed to be Shipper's.

                                                                 ARTICLE VI

                                                            RATES AND CHARGES

             6.1     TRANSPORTATION RATES - Commencing upon the Commencement Date, the rates, charges, and
                     surcharges to be paid by Shipper to Transporter for the transportation service provided herein shall be in
                     accordance with Transporter's Rate Schedule FT-A and the General Terms and Conditions of Transporter's
                     FERC Gas Tariff.

                     Except as provided to the contrary in any written or electronic agreement(s) between Transporter and
                     Shipper in effect during the term of this Agreement, Shipper shall pay Transporter the applicable maximum
                     rate(s) and all other applicable charges and surcharges specified in the Summary of Rates and Charges in
                     Transporter's FERC Gas Tariff and in Rate Schedule FT-A. Transporter and Shipper may mutually agree
                     from time to time to discounted rates or Negotiated Rates for service provided hereunder in accordance with
                     the provisions of Rate Schedule FT-A and the General Terms and Conditions of Transporter’s FERC Gas
                     Tariff.

                     Transporter and Shipper may agree that a specific discounted rate will apply only to certain volumes under
                     the agreement. Transporter and Shipper may agree that a specified discounted rate will apply only to
                     specified volumes (MDQ, TQ, commodity volumes, Extended Receipt and Delivery Service Volumes or
                     Authorized Overrun volumes) under the Agreement; that a specified discounted rate will apply only if
                     specified volumes are achieved (with the maximum rates applicable to volumes above the specified volumes
                     or to all volumes if the specified volumes are never achieved); that a specified discounted rate will apply
                     only during specified periods of the year or over a specifically defined period of time; that a specified
                     discounted rate will apply only to specified points, zones, markets or other defined geographical area; and/or
                     that a specified discounted rate will apply only to production or reserves committed or dedicated to
                     Transporter. Transporter and Shipper may agree to a specified discounted rate pursuant to the provisions
                     of this Section 6.1 provided that the discounted rate is between the applicable maximum and minimum
                     rates for this service.

                     In addition, a discount agreement may include a provision that if one rate component which was at or below
                     the applicable Maximum Rate at the time the discount agreement was executed subsequently exceeds the
                     applicable Maximum Rate due to a change in Transporter's Maximum Rates so that such rate component
                     must be adjusted downward to equal the new applicable Maximum Rate, then other rate components may
                     be adjusted upward to achieve the agreed overall rate, as long as none of the resulting rate components
                     exceed the Maximum Rate applicable to that rate component. Such changes to rate components shall be
                     applied prospectively, commencing with the date a Commission Order accepts revised tariff sheet rates.
                     However, nothing contained herein shall be construed to alter a refund obligation under applicable law for
                     any period during which rates that had been charged under a discount agreement exceeded rates which
                     ultimately are found to be just and reasonable.

             6.2     INCIDENTAL CHARGES - Shipper agrees to reimburse Transporter for any filing or similar fees, which have
                     not been previously paid for by Shipper, which Transporter incurs in rendering service hereunder.

             6.3     CHANGES IN RATES AND CHARGES - Shipper agrees that Transporter shall have the unilateral right to file
                     with the appropriate regulatory authority and make effective changes in (a) the rates and charges applicable
                     to service pursuant to Transporter's Rate Schedule FT-A or any successor rate schedule, (b) the rate
                     schedule(s) pursuant to which service hereunder is rendered, and/or (c) any provision of the General Terms
                     and Conditions of Transporter’s FERC Gas Tariff applicable to those rate schedules or this Agreement.
                     Transporter agrees that Shipper may protest or contest the aforementioned filings, and may seek
                     authorization from duly constituted regulatory authorities for such adjustment of Transporter's existing FERC
                     Gas Tariff as may be found necessary to assure Transporter just and reasonable rates.

             6.4      Reserved.




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                                                                   ARTICLE VII

                                                            BILLINGS AND PAYMENTS

             Transporter shall bill and Shipper shall pay all rates and charges in accordance with Articles VII and VIII, respectively,
             of the General Terms and Conditions of Transporter’s FERC Gas Tariff.

                                                                   ARTICLE VIII

                                           RATE SCHEDULE AND GENERAL TERMS AND CONDITIONS

             This Agreement shall be subject to the effective provisions of Transporter's Rate Schedule FT-A and to the General
             Terms and Conditions of Transporter’s FERC Gas Tariff incorporated therein, as the same may be changed or
             superseded from time to time in accordance with the rules and regulations of the FERC.

                                                                   ARTICLE IX

                                                                   REGULATION

             9.1      This Agreement shall be subject to all applicable and lawful governmental statutes, orders, rules and
                      regulations and is contingent upon the receipt and continuation of all necessary regulatory approvals or
                      authorizations upon terms acceptable to Transporter. This Agreement shall be void and of no force and
                      effect if any necessary regulatory approval is not so obtained or continued. All Parties hereto shall cooperate
                      to obtain or continue all necessary approvals or authorizations, but no Party shall be liable to any other
                      Party for failure to obtain or continue such approvals or authorizations.

             9.2      The transportation service described herein shall be provided subject to Subpart G of the FERC Regulations.

                                                                    ARTICLE X

                                                  RESPONSIBILITY DURING TRANSPORTATION

             Except as herein specified, the responsibility for gas during transportation shall be as stated in the General Terms
             and Conditions of Transporter's FERC Gas Tariff.

                                                                   ARTICLE XI

                                                                  WARRANTIES

             11.1     In addition to the warranties set forth in Article XI of the General Terms and Conditions of Transporter's
                      FERC Gas Tariff, Shipper warrants the following:

                      (a)      Shipper warrants that all upstream and downstream transportation arrangements are in place, or
                               will be in place by the Commencement Date, and that it has advised the upstream and downstream
                               transporters of the receipt and delivery points under this Agreement and any quantity limitations
                               for each point as specified on Exhibit "A" attached hereto. Shipper agrees to indemnify and hold
                               Transporter harmless for refusal to transport gas hereunder in the event any upstream or
                               downstream transporter fails to receive or deliver gas as contemplated by this Agreement.

                      (b)      Not applicable.

                      (c)      Shipper agrees to indemnify and hold Transporter harmless from all suits, actions, debts, accounts,
                               damages, costs, losses and expenses (including reasonable attorney’s fees) arising from or out of
                               breach of any warranty by Shipper herein.

             11.2     Transporter shall not be obligated to provide or continue service hereunder in the event of any breach of
                      warranty.

             11.3     Not applicable.

                                                                   ARTICLE XII

                                                                       TERM




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             12.1     This Agreement shall be effective as of the date hereof. Service hereunder shall commence on the
                      Commencement Date, and shall continue in effect until the end of such calendar month that is twenty (20)
                      years from the Commencement Date ("Primary Term").unless modified as per Exhibit “B”; Any rights to
                      Shipper's extension of this Agreement after the Primary Term shall be set forth in Exhibit “A” hereto;
                      provided, however, if Exhibit “A” does not specify Shipper’s extension rights under the Agreement, and if
                      the Primary Term is one year or more, then any rights to Shipper's extension of this Agreement after the
                      Primary Term shall be governed by Article V, Section 4 of the General Terms and Conditions of Transporter's
                      FERC Gas Tariff; and provided further, that if the FERC or other governmental body having jurisdiction over
                      the service rendered pursuant to this Agreement authorizes abandonment of such service, this Agreement
                      shall terminate on the abandonment date permitted by the FERC or such other governmental body.

             12.2     Any portions of this Agreement necessary to resolve or cash out imbalances under this Agreement as
                      required by the General Terms and Conditions of Transporter's FERC Gas Tariff shall survive the other parts
                      of this Agreement until such time as such balancing has been accomplished; provided, however, that
                      Transporter notifies Shipper of such imbalance not later than twelve months after the termination of this
                      Agreement.

             12.3     This Agreement will terminate automatically upon written notice from Transporter in the event Shipper fails
                      to pay all of the amount of any bill for service rendered by Transporter hereunder in accord with the terms
                      and conditions of Article VIII of the General Terms and Conditions of Transporter's FERC Gas Tariff.

                                                                 ARTICLE XIII

                                                                     NOTICE

             Except as otherwise provided in the General Terms and Conditions of Transporter's FERC Gas Tariff applicable to this
             Agreement, any notice under this Agreement shall be in writing and mailed to the address of the Party intended to
             receive the same, as follows:

                      TRANSPORTER:      Tennessee Gas Pipeline Company, L.L.C.
                                        1001 Louisiana Street, Suite 1000
             Houston, Texas 77002

                      Attention:        Director, Transportation Services


                      SHIPPER:          Tennessee Valley Authority

                      NOTICES:          ______________________________________
                                        ______________________________________
                                        ______________________________________
                                        ______________________________________

                      Attention:        ______________________________________


                      BILLING:          ______________________________________
                                        ______________________________________
                                        ______________________________________
                                        ______________________________________

                      Attention:        ______________________________________

             or to such other address as either Party shall designate by formal written notice to the other.




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                                                                 ARTICLE XIV

                                                                ASSIGNMENTS

             14.1    Either Party may assign or pledge this Agreement and all rights and obligations hereunder under the
                     provisions of any mortgage, deed of trust, indenture, or other instrument which it has executed or may
                     execute hereafter as security for indebtedness. Either Party may, without relieving itself of its obligation
                     under this Agreement, assign any of its rights hereunder to a company with which it is affiliated. Otherwise,
                     Shipper shall not assign this Agreement or any of its rights hereunder, except in accord with Article VI,
                     Section 1 of the General Terms and Conditions of Transporter's FERC Gas Tariff.

             14.2    Any person which shall succeed by purchase, merger, or consolidation to the properties, substantially as an
                     entirety, of either Party hereto shall be entitled to the rights and shall be subject to the obligations of its
                     predecessor in interest under this Agreement.

                                                                  ARTICLE XV

                                                               MISCELLANEOUS

             15.1    THE INTERPRETATION AND PERFORMANCE OF THIS CONTRACT SHALL BE IN ACCORDANCE WITH AND
                     CONTROLLED BY THE LAWS OF THE STATE OF TEXAS, WITHOUT REGARD TO THE DOCTRINES GOVERNING
                     CHOICE OF LAW.

             15.2    If any provision of this Agreement is declared null and void, or voidable, by a court of competent jurisdiction,
                     then that provision will be considered severable at either Party's option; and if the severability option is
                     exercised, the remaining provisions of the Agreement shall remain in full force and effect.

             15.3    Unless otherwise expressly provided in this Agreement or Transporter's FERC Gas Tariff, no modification of
                     or supplement to the terms and provisions stated in this Agreement shall be or become effective until
                     Shipper has submitted a request for change through Transporter’s Interactive Website and Shipper has been
                     notified through Transporter’s Interactive Website of Transporter's agreement to such change.

             15.4    Exhibit "A" and , when applicable, Exhibit “B” attached hereto are incorporated herein by reference and
                     made a part hereof for all purposes.

             15.6    Not applicable.

             15.7    Not applicable.




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                       IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be duly executed as of the date
             first hereinabove written.




                                               TENNESSEE GAS PIPELINE COMPANY, L.L.C.



                                               BY:      __________________________________________
                                                               Agent and Attorney-in-Fact




                                               TENNESSEE VALLEY AUTHORITY



                                               BY:      __________________________________________
                                                               Agent and Attorney-in-Fact


                                               TITLE:   __________________________________________


                                               DATE:    __________________________________________




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                                                                      GAS TRANSPORTATION AGREEMENT
                                                                      (For Use Under FT-A Rate Schedule)


                                                                                EXHIBIT A
                                                                             AMENDMENT NO. 0




                                                                                                                                                              Case: 23-3682
                                                                    TO GAS TRANSPORTATION AGREEMENT
                                                                    DATED _________________________
                                                                                BETWEEN
                                                                  TENNESSEE GAS PIPELINE COMPANY, L.L.C.
                                                                                  AND

                                                                        TENNESSEE VALLEY AUTHORITY


             Amendment Effective Date:




                                                                                                                                                              Document: 74-4
             Service Package: _________________

             Service Package TQ: 221,000 Dth


                    Beginning Date                            Ending Date                                     TQ
              Commencement Date                      Commencement Date + 20 years *            221,000




                                                                                                                                                              Filed: 10/07/2024
             *”; provided, however, that the Primary Term shall end at the end of such calendar month that is twenty (20) years from the Commencement Date.




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                                                                                 Total Receipt TQ: 221,000

                                                                                 Total Delivery TQ: 221,000




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             Number of Receipt Points:

             Number of Delivery Points:




                                                                                                                                                                         Case: 23-3682
              Other Provisions Permitted By Tariff Under the Applicable Rate Schedule and/or General Terms and Conditions and Pursuant to Article XXXVI of the General
             Terms and Conditions of Transporter’s FERC Gas Tariff:




                                                                                                                                                                         Document: 74-4
             Note:   Exhibit A is a reflection of the contract and all amendments as of the amendment effective date.




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             GHOLYHU\ DW WKH &XPEHUODQG 3ODQW


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                     KHUHRI DV VSHFLILHG RQ ([KLELW ³$´ DWWDFKHG KHUHWR $Q\ OLPLWDWLRQV RQ WKH TXDQWLWLHV WR
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             WR SURYLGH VHUYLFH KHUHXQGHU PHDVXUHPHQW RSHUDWLRQV ZLOO FRQWLQXH LQ WKH PDQQHU LQ ZKLFK WKH\
             KDYH SUHYLRXVO\ EHHQ KDQGOHG ,Q WKH HYHQW WKDW VXFK IDFLOLWLHV DUH QRW RSHUDWHG E\ 7UDQVSRUWHU RU
             D GRZQVWUHDP SLSHOLQH WKHQ UHVSRQVLELOLW\ IRU RSHUDWLRQV VKDOO EH GHHPHG WR EH 6KLSSHU V




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                     7UDQVSRUWHU WKH DSSOLFDEOH PD[LPXP UDWH V DQG DSSOLFDEOH VXUFKDUJHV IRU WKH VSHFLILHG
                     ,QFUHPHQWDO /DWHUDO VHUYLFH LQ WKH 6XPPDU\ RI 5DWHV DQG &KDUJHV LQ 7UDQVSRUWHU V )(5&
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                     DFFRUGDQFH ZLWK WKH SURYLVLRQV RI 5DWH 6FKHGXOH )7,/ DQG WKH *HQHUDO 7HUPV DQG
                     &RQGLWLRQV RI 7UDQVSRUWHU¶V )(5& *DV 7DULII

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                     VHHN DXWKRUL]DWLRQ IURP GXO\ FRQVWLWXWHG UHJXODWRU\ DXWKRULWLHV IRU VXFK DGMXVWPHQW RI
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                     & RI WKH 3UHFHGHQW $JUHHPHQW WR FRQWUDFW IRU )LUP 6HUYLFH GDWHG >LQVHUW GDWH@ E\ DQG
                     EHWZHHQ 7UDQVSRUWHU DQG 6KLSSHU DQG DUH LQFRUSRUDWHG KHUHLQ E\ UHIHUHQFH DQG PDGH D SDUW
                     RI WKLV $JUHHPHQW
                                                        $57,&/( 9,,

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             7UDQVSRUWHU VKDOO ELOO DQG 6KLSSHU VKDOO SD\ DOO UDWHV DQG FKDUJHV LQ DFFRUGDQFH ZLWK $UWLFOHV 9,,
             DQG 9,,, UHVSHFWLYHO\ RI WKH *HQHUDO 7HUPV DQG &RQGLWLRQV RI 7UDQVSRUWHU V )(5& *DV 7DULII




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                      ,1&5(0(17$/ /$7(5$/ 75$163257$7,21 $*5((0(17 FRQWLQXHG
                                    )RU 8VH 8QGHU )7,/ 5DWH 6FKHGXOH


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             7KLV $JUHHPHQW VKDOO EH VXEMHFW WR WKH HIIHFWLYH SURYLVLRQV RI 7UDQVSRUWHU V 5DWH 6FKHGXOH )7,/
             DQG WR WKH *HQHUDO 7HUPV DQG &RQGLWLRQV RI 7UDQVSRUWHU¶V )(5& *DV 7DULII LQFRUSRUDWHG WKHUHLQ
             DV WKH VDPH PD\ EH FKDQJHG RU VXSHUVHGHG IURP WLPH WR WLPH LQ DFFRUGDQFH ZLWK WKH UXOHV DQG
             UHJXODWLRQV RI WKH )(5&

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                  7KLV $JUHHPHQW VKDOO EH VXEMHFW WR DOO DSSOLFDEOH DQG ODZIXO JRYHUQPHQWDO VWDWXWHV RUGHUV
                     UXOHV DQG UHJXODWLRQV DQG LV FRQWLQJHQW XSRQ WKH UHFHLSW DQG FRQWLQXDWLRQ RI DOO QHFHVVDU\
                     UHJXODWRU\ DSSURYDOV RU DXWKRUL]DWLRQV XSRQ WHUPV DFFHSWDEOH WR 7UDQVSRUWHU 7KLV
                     $JUHHPHQW VKDOO EH YRLG DQG RI QR IRUFH DQG HIIHFW LI DQ\ QHFHVVDU\ UHJXODWRU\ DSSURYDO LV
                     QRW VR REWDLQHG RU FRQWLQXHG $OO 3DUWLHV KHUHWR VKDOO FRRSHUDWH WR REWDLQ RU FRQWLQXH DOO
                     QHFHVVDU\ DSSURYDOV RU DXWKRUL]DWLRQV EXW QR 3DUW\ VKDOO EH OLDEOH WR DQ\ RWKHU 3DUW\ IRU
                     IDLOXUH WR REWDLQ RU FRQWLQXH VXFK DSSURYDOV RU DXWKRUL]DWLRQV

                  7KH WUDQVSRUWDWLRQ VHUYLFH GHVFULEHG KHUHLQ VKDOO EH SURYLGHG VXEMHFW WR 6XESDUW * 3DUW
                      RI WKH )(5& 5HJXODWLRQV

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             ([FHSW DV KHUHLQ VSHFLILHG WKH UHVSRQVLELOLW\ IRU JDV GXULQJ WUDQVSRUWDWLRQ VKDOO EH DV VWDWHG LQ WKH
             *HQHUDO 7HUPV DQG &RQGLWLRQV RI 7UDQVSRUWHU V )(5& *DV 7DULII




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                      ,1&5(0(17$/ /$7(5$/ 75$163257$7,21 $*5((0(17 FRQWLQXHG
                                    )RU 8VH 8QGHU )7,/ 5DWH 6FKHGXOH


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                 ,Q DGGLWLRQ WR WKH ZDUUDQWLHV VHW IRUWK LQ $UWLFOH ;, RI WKH *HQHUDO 7HUPV DQG &RQGLWLRQV
                     RI 7UDQVSRUWHU V )(5& *DV 7DULII 6KLSSHU ZDUUDQWV WKH IROORZLQJ

                      D        6KLSSHU ZDUUDQWV WKDW DOO XSVWUHDP DQG GRZQVWUHDP WUDQVSRUWDWLRQ DUUDQJHPHQWV DUH
                               LQ SODFH RU ZLOO EH LQ SODFH E\ WKH &RPPHQFHPHQW 'DWH DQG WKDW LW KDV DGYLVHG WKH
                               XSVWUHDP DQG GRZQVWUHDP WUDQVSRUWHUV RI WKH UHFHLSW DQG GHOLYHU\ SRLQWV XQGHU WKLV
                               $JUHHPHQW DQG DQ\ TXDQWLW\ OLPLWDWLRQV IRU HDFK SRLQW DV VSHFLILHG RQ ([KLELW $
                               DWWDFKHG KHUHWR 6KLSSHU DJUHHV WR LQGHPQLI\ DQG KROG 7UDQVSRUWHU KDUPOHVV IRU
                               UHIXVDO WR WUDQVSRUW JDV KHUHXQGHU LQ WKH HYHQW DQ\ XSVWUHDP RU GRZQVWUHDP
                               WUDQVSRUWHU IDLOV WR UHFHLYH RU GHOLYHU JDV DV FRQWHPSODWHG E\ WKLV $JUHHPHQW

                      E        6KLSSHU DJUHHV WR LQGHPQLI\ DQG KROG 7UDQVSRUWHU KDUPOHVV IURP DOO VXLWV DFWLRQV
                               GHEWV DFFRXQWV GDPDJHV FRVWV ORVVHV DQG H[SHQVHV LQFOXGLQJ UHDVRQDEOH
                               DWWRUQH\V IHHV DULVLQJ IURP RU RXW RI EUHDFK RI DQ\ ZDUUDQW\ E\ 6KLSSHU KHUHLQ

                 7UDQVSRUWHU VKDOO QRW EH REOLJDWHG WR SURYLGH RU FRQWLQXH VHUYLFH KHUHXQGHU LQ WKH HYHQW RI
                     DQ\ EUHDFK RI ZDUUDQW\

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                 7KLV $JUHHPHQW VKDOO EH HIIHFWLYH DV RI WKH GDWH KHUHRI 6HUYLFH KHUHXQGHU VKDOO FRPPHQFH
                     RQ WKH &RPPHQFHPHQW 'DWH DQG VKDOO FRQWLQXH LQ HIIHFW XQWLO WKH HQG RI VXFK FDOHQGDU
                     PRQWK WKDW LV WZHQW\  \HDUV IURP WKH &RPPHQFHPHQW 'DWH 3ULPDU\ 7HUP  XQOHVV
                     PRGLILHG DV SHU ([KLELW %´ $Q\ ULJKWV WR 6KLSSHU V H[WHQVLRQ RI WKLV $JUHHPHQW DIWHU WKH
                     3ULPDU\ 7HUP VKDOO EH VHW IRUWK LQ ([KLELW ³$´ KHUHWR SURYLGHG KRZHYHU LI ([KLELW ³$´
                     GRHV QRW VSHFLI\ 6KLSSHU¶V H[WHQVLRQ ULJKWV XQGHU WKH $JUHHPHQW DQG LI WKH 3ULPDU\ 7HUP
                     LV RQH \HDU RU PRUH WKHQ DQ\ ULJKWV WR 6KLSSHU V H[WHQVLRQ RI WKLV $JUHHPHQW DIWHU WKH
                     3ULPDU\ 7HUP VKDOO EH JRYHUQHG E\ $UWLFOH 9 6HFWLRQ  RI WKH *HQHUDO 7HUPV DQG
                     &RQGLWLRQV RI 7UDQVSRUWHU V )(5& *DV 7DULII DQG SURYLGHG IXUWKHU WKDW LI WKH )(5& RU
                     RWKHU JRYHUQPHQWDO ERG\ KDYLQJ MXULVGLFWLRQ RYHU WKH VHUYLFH UHQGHUHG SXUVXDQW WR WKLV
                     $JUHHPHQW DXWKRUL]HV DEDQGRQPHQW RI VXFK VHUYLFH WKLV $JUHHPHQW VKDOO WHUPLQDWH RQ WKH
                     DEDQGRQPHQW GDWH SHUPLWWHG E\ WKH )(5& RU VXFK RWKHU JRYHUQPHQWDO ERG\




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                                    )RU 8VH 8QGHU )7,/ 5DWH 6FKHGXOH


                 $Q\ SRUWLRQV RI WKLV $JUHHPHQW QHFHVVDU\ WR UHVROYH RU FDVK RXW LPEDODQFHV XQGHU WKLV
                     $JUHHPHQW DV UHTXLUHG E\ WKH *HQHUDO 7HUPV DQG &RQGLWLRQV RI 7UDQVSRUWHU V )(5& *DV
                     7DULII VKDOO VXUYLYH WKH RWKHU SDUWV RI WKLV $JUHHPHQW XQWLO VXFK WLPH DV VXFK EDODQFLQJ KDV
                     EHHQ DFFRPSOLVKHG SURYLGHG KRZHYHU WKDW 7UDQVSRUWHU QRWLILHV 6KLSSHU RI VXFK
                     LPEDODQFH QRW ODWHU WKDQ WZHOYH PRQWKV DIWHU WKH WHUPLQDWLRQ RI WKLV $JUHHPHQW

                 7KLV $JUHHPHQW ZLOO WHUPLQDWH DXWRPDWLFDOO\ XSRQ ZULWWHQ QRWLFH IURP 7UDQVSRUWHU LQ WKH
                     HYHQW 6KLSSHU IDLOV WR SD\ DOO RI WKH DPRXQW RI DQ\ ELOO IRU VHUYLFH UHQGHUHG E\ 7UDQVSRUWHU
                     KHUHXQGHU LQ DFFRUG ZLWK WKH WHUPV DQG FRQGLWLRQV RI $UWLFOH 9,,, RI WKH *HQHUDO 7HUPV DQG
                     &RQGLWLRQV RI 7UDQVSRUWHU V )(5& *DV 7DULII

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             ([FHSW DV RWKHUZLVH SURYLGHG LQ WKH *HQHUDO 7HUPV DQG &RQGLWLRQV RI 7UDQVSRUWHU¶V )(5& *DV
             7DULII DSSOLFDEOH WR WKLV $JUHHPHQW DQ\ QRWLFH XQGHU WKLV $JUHHPHQW VKDOO EH LQ ZULWLQJ DQG PDLOHG
             WR WKH DGGUHVV RI WKH 3DUW\ LQWHQGHG WR UHFHLYH WKH VDPH DV IROORZV


                     75$163257(5          7HQQHVVHH *DV 3LSHOLQH &RPSDQ\ //&
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                                    )RU 8VH 8QGHU )7,/ 5DWH 6FKHGXOH


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             RU WR VXFK RWKHU DGGUHVV DV HLWKHU 3DUW\ VKDOO GHVLJQDWH E\ IRUPDO ZULWWHQ QRWLFH WR WKH RWKHU

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                 (LWKHU 3DUW\ PD\ DVVLJQ RU SOHGJH WKLV $JUHHPHQW DQG DOO ULJKWV DQG REOLJDWLRQV KHUHXQGHU
                     XQGHU WKH SURYLVLRQV RI DQ\ PRUWJDJH GHHG RI WUXVW LQGHQWXUH RU RWKHU LQVWUXPHQW ZKLFK
                     LW KDV H[HFXWHG RU PD\ H[HFXWH KHUHDIWHU DV VHFXULW\ IRU LQGHEWHGQHVV (LWKHU 3DUW\ PD\
                     ZLWKRXW UHOLHYLQJ LWVHOI RI LWV REOLJDWLRQ XQGHU WKLV $JUHHPHQW DVVLJQ DQ\ RI LWV ULJKWV
                     KHUHXQGHU WR D FRPSDQ\ ZLWK ZKLFK LW LV DIILOLDWHG 2WKHUZLVH 6KLSSHU VKDOO QRW DVVLJQ WKLV
                     $JUHHPHQW RU DQ\ RI LWV ULJKWV KHUHXQGHU H[FHSW LQ DFFRUG ZLWK $UWLFOH 9, 6HFWLRQ  RI WKH
                     *HQHUDO 7HUPV DQG &RQGLWLRQV RI 7UDQVSRUWHU V )(5& *DV 7DULII

                 $Q\ SHUVRQ ZKLFK VKDOO VXFFHHG E\ SXUFKDVH PHUJHU RU FRQVROLGDWLRQ WR WKH SURSHUWLHV
                     VXEVWDQWLDOO\ DV DQ HQWLUHW\ RI HLWKHU 3DUW\ KHUHWR VKDOO EH HQWLWOHG WR WKH ULJKWV DQG VKDOO EH
                     VXEMHFW WR WKH REOLJDWLRQV RI LWV SUHGHFHVVRU LQ LQWHUHVW XQGHU WKLV $JUHHPHQW

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                     7(;$6 :,7+287 5(*$5' 72 7+( '2&75,1(6 *29(51,1* &+2,&( 2)
                     /$:

                 ,I DQ\ SURYLVLRQ RI WKLV $JUHHPHQW LV GHFODUHG QXOO DQG YRLG RU YRLGDEOH E\ D FRXUW RI
                     FRPSHWHQW MXULVGLFWLRQ WKHQ WKDW SURYLVLRQ ZLOO EH FRQVLGHUHG VHYHUDEOH DW HLWKHU 3DUW\ V
                     RSWLRQ DQG LI WKH VHYHUDELOLW\ RSWLRQ LV H[HUFLVHG WKH UHPDLQLQJ SURYLVLRQV RI WKH
                     $JUHHPHQW VKDOO UHPDLQ LQ IXOO IRUFH DQG HIIHFW




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                                    )RU 8VH 8QGHU )7,/ 5DWH 6FKHGXOH


                 8QOHVV RWKHUZLVH H[SUHVVO\ SURYLGHG LQ WKLV $JUHHPHQW RU 7UDQVSRUWHU V )(5& *DV 7DULII
                     QR PRGLILFDWLRQ RI RU VXSSOHPHQW WR WKH WHUPV DQG SURYLVLRQV VWDWHG LQ WKLV $JUHHPHQW VKDOO
                     EH RU EHFRPH HIIHFWLYH XQWLO 6KLSSHU KDV VXEPLWWHG D UHTXHVW IRU FKDQJH WKURXJK
                     7UDQVSRUWHU¶V ,QWHUDFWLYH :HEVLWH DQG 6KLSSHU KDV EHHQ QRWLILHG WKURXJK 7UDQVSRUWHU¶V
                     ,QWHUDFWLYH :HEVLWH RI 7UDQVSRUWHU V DJUHHPHQW WR VXFK FKDQJH

                 ([KLELW $ DQG ZKHQ DSSOLFDEOH ([KLELW ³%´ DWWDFKHG KHUHWR DUH LQFRUSRUDWHG KHUHLQ E\
                     UHIHUHQFH DQG PDGH D SDUW KHUHRI IRU DOO SXUSRVHV

                 5HVHUYHG

                 2WKHU SURYLVLRQV RI WKLV $JUHHPHQW QRWZLWKVWDQGLQJ 7UDQVSRUWHU VKDOO EH XQGHU QR
                     REOLJDWLRQ WR FRPPHQFH VHUYLFH KHUHXQGHU XQOHVV DQG XQWLO L 7UDQVSRUWHU KDV UHFHLYHG
                     DQG DFFHSWHG DOO WKH QHFHVVDU\ UHJXODWRU\ DSSURYDOV DQG SHUPLWV WR FRQVWUXFW LQVWDOO RZQ
                     DQG RSHUDWH RU RWKHUZLVH DFTXLUH DFFHVV WR DOO QHFHVVDU\ IDFLOLWLHV WR SURYLGH VHUYLFH XQGHU
                     WKH $JUHHPHQW LQ IRUP DQG VXEVWDQFH VDWLVIDFWRU\ WR 7UDQVSRUWHU DQG LL DOO QHFHVVDU\
                     IDFLOLWLHV WR SURYLGH VHUYLFH XQGHU WKH $JUHHPHQW KDYH EHHQ DXWKRUL]HG LQVWDOOHG DQG DUH
                     LQ RSHUDWLQJ FRQGLWLRQ LQ 7UDQVSRUWHU¶V VROH GHWHUPLQDWLRQ´




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                                    )RU 8VH 8QGHU )7,/ 5DWH 6FKHGXOH


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             H[HFXWHG DV RI WKH GDWH ILUVW KHUHLQDERYH ZULWWHQ




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                                                             )RU 8VH 8QGHU )7,/ 5DWH 6FKHGXOH




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             6HUYLFH 3DFNDJH BBBBBBBBBBBBBBBBB

             6HUYLFH 3DFNDJH 74 'WK

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               &RPPHQFHPHQW 'DWH                     &RPPHQFHPHQW 'DWH   \HDUV                   'WK




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              ”; provided, however, that the Primary Term shall end at the end of such calendar month that is twenty (20) years from the Commencement Date.




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             IRU WKH DFFRXQW RI >LQVHUW FXVWRPHU QDPH@ ³$SSOLFDQW´  LQ WKH DPRXQW RI BBBBBBBBBBBBBBB
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             LQFOXGLQJ DQ\ VXEVHTXHQW DPHQGPHQWV WKHUHWR DORQJ ZLWK D GXO\ FRPSOHWHG GDWHG DQG VLJQHG
             VWDWHPHQW FRQWDLQLQJ DQ\ RI WKH IROORZLQJ GHFODUDWLRQV DQG UHDGLQJ DV VXEVWDQWLDOO\ VHW IRUWK DV
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                     E   $SSOLFDQW KDV QRW UHPHGLHG D SD\PHQW GHIDXOW ZLWKLQ  GD\V RI $SSOLFDQW V UHFHLSW RI D
                         QRWLFH RI GHIDXOW IURP %HQHILFLDU\ DQG WKH DPRXQW RI WKLV GUDZLQJ 86' XS WR WKH IXOO
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                         XQGHU WKH ODZV RI WKH 8QLWHG 6WDWHV RU SXUVXDQW WR WKH ODZV RI DQ\ VWDWH RI IRUHLJQ HQWLW\
                         SURYLGLQJ IRU OLTXLGDWLRQ RU GHEW UHGXFWLRQ RU UHOLHI SURFHGXUHV DQG %HQHILFLDU\
                         WKHUHIRUH LV HQWLWOHG WR DQG GRHV KHUHE\ GUDZ WKH IXOO DPRXQW RI WKH /HWWHU RI &UHGLW RU
                         WKH UHPDLQLQJ EDODQFH RI WKH /HWWHU RI &UHGLW LI WKHUH KDYH EHHQ DQ\ SUHYLRXV GUDZV 

             3D\PHQW KHUHXQGHU VKDOO EH PDGH E\ ZLUH WUDQVIHU RI )HGHUDO 5HVHUYH %DQN IXQGV WR %HQHILFLDU\ V
             DFFRXQW LQ D EDQN RQ WKH )HGHUDO 5HVHUYH ZLUH V\VWHP VSHFLILHG LQ %HQHILFLDU\ V GHPDQG IRU
             SD\PHQW RU E\ GHSRVLW RI VDPH GD\ IXQGV LQWR D GHVLJQDWHG DFFRXQW WKDW %HQHILFLDU\ PDLQWDLQV ZLWK
             WKH EDQNLQJ LQVWLWXWLRQ GHVLJQDWHG LQ VXFK GHPDQG

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             H[WHQGHG E\ ,VVXHU ZLWKRXW DPHQGPHQW IRU VXFFHVVLYH RQH \HDU SHULRGV WKHUHDIWHU EHJLQQLQJ ZLWK
             WKH LQLWLDO H[SLU\ GDWH KHUHRI XQOHVV DW OHDVW QLQHW\  GD\V SULRU WR WKH UHOHYDQW H[SLUDWLRQ GDWH
             ,VVXHU QRWLILHV %HQHILFLDU\ E\ RYHUQLJKW PDLO RU E\ FRXULHU WKDW ,VVXHU KDV HOHFWHG QRW WR H[WHQG WKH
             WHUP RI WKLV /HWWHU RI &UHGLW IRU DQ DGGLWLRQDO RQH \HDU SHULRG 8SRQ UHFHLSW E\ %HQHILFLDU\ RI VXFK
             QRWLFH RI QR DGGLWLRQDO H[WHQVLRQV %HQHILFLDU\ PD\ GUDZ XSRQ WKLV /HWWHU RI &UHGLW IRU DOO DPRXQWV
             WKHQ DYDLODEOH KHUHXQGHU DV SURYLGHG DERYH 7KH DGGUHVV IRU VXFK QRWLFH WR %HQHILFLDU\ LV DV
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             EH H[WHQGHG LQ DQ DPRXQW HTXDO WR LWV WKHQDSSOLFDEOH IDFH DPRXQW OHVV WKH DJJUHJDWH DPRXQW RI
             DOO SDUWLDO GUDZLQJV WKHUHWRIRUH PDGH

             $OO GHPDQGV QRWLFHV DQG GRFXPHQWV PD\ EH VXEPLWWHG WR ,VVXHU LQ ZULWLQJ RU E\ ID[ WR WKH
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             WHUPV RI WKLV /HWWHU RI &UHGLW ZLOO EH GXO\ KRQRUHG XSRQ SUHVHQWDWLRQ DV VSHFLILHG LI SUHVHQWHG RQ
             RU EHIRUH WKH DSSOLFDEOH H[SLU\ GDWH

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             WR WKH ,QWHUQDWLRQDO 6WDQGE\ 3UDFWLFHV  ,63  ,QWHUQDWLRQDO &KDPEHU RI &RPPHUFH
             3XEOLFDWLRQ QR  DQG WR WKH H[WHQW QRW JRYHUQHG E\ QRU LQFRQVLVWHQW ZLWK ,63 WR WKH ODZV RI
             WKH 6WDWH RI 1HZ <RUN H[FHSW IRU FRQIOLFWVRIODZ RU UHODWHG SULQFLSOHV WKDW ZRXOG RSHUDWH WR
             DSSO\ WKH ODZV RI DQRWKHU MXULVGLFWLRQ

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                      AMENDMENT TO PRECEDENT AGREEMENT

         This Amendment to the Precedent Agreement (“Amendment”) is made and entered into
this 30
     __th day of November, 2022 (the “Effective Date”), by and between TENNESSEE GAS
PIPELINE COMPANY, L.L.C., a Delaware limited liability company (“Transporter”) and
Tennessee Valley Authority, a corporate agency of the United States created by an act of Congress
with its principal place of business in Knoxville, Tennessee ("Shipper"). Transporter and Shipper
are sometimes referred to herein as “Party” or collectively as the “Parties”.

         WHEREAS, the Parties entered into that certain Precedent Agreement dated August, 11,
2021 (the “Precedent Agreement”) for the purpose of setting forth the terms and conditions
according to which Transporter would install certain pipeline facilities and associated equipment
on its system to make available firm transportation capacity desired by Shipper, and Shipper would
take and pay for such firm transportation service, all of which are subject to Transporter’s right of
termination for reasons, including, but not limited to, completion of required environmental
reviews; and

       WHEREAS, the Parties wish to amend the Precedent Agreement’s Shipper Management
Approval Date and Transporter Management Approval Dates in Section 7A(i) and Section 7(A)(ii)
to provide Shipper with additional time to obtain necessary approvals from its executive
management and/or board of directors for Shipper’s execution of the Project Agreements; and

       WHEREAS, the Parties wish to amend the Precedent Agreement’s Section 7B(iv) to
provide Shipper additional time to complete environmental reviews that will help Shipper
determine whether or not it will proceed with construction of the TVA-Cumberland Units.

        NOW, THEREFORE, in consideration of the mutual covenants and agreements herein
contained, and for other good and valuable consideration, the receipt and the sufficiency of which
are hereby acknowledged, Transporter and Shipper hereby agree as follows:

A.    Definitions. All capitalized terms used but not defined or modified herein shall have the
meanings ascribed thereto in the Precedent Agreement.

B.   General Amendments to Precedent Agreement. Upon the Effective Date of this
Amendment, the Precedent Agreement is amended as follows:

       1.      Section 7A(i) of the Precedent Agreement is hereby amended by deleting reference
to “                   ,” as the Shipper Management Approval Date and replacing it with the date
of “                 .”

       2.      Section 7(A)(ii) of the Precedent Agreement is hereby amended by deleting
reference to “                 ” as the Transporter Management Approval Date and replacing it
with the date of “              .”

       3.    Section 7B(iv) of the Precedent Agreement is hereby amended by deleting reference
to “December 1, 2022” and replacing it with the date of “February 1, 2023.”

C.      Continuing Effect of the Precedent Agreement. All references to the Precedent Agreement
shall refer to the Precedent Agreement as amended by this Amendment. Except as expressly
amended hereby, all the provisions, to include all the defined terms, of the Precedent Agreement
shall remain in full force and effect and are hereby in all respects ratified and confirmed.

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D.      One Agreement; Counterparts; Signatures. The Precedent Agreement, as amended by this
Amendment, will be construed as one agreement. This Amendment may be executed in multiple
counterparts, each of which shall be deemed an original and all of which, collectively, shall be one
and the same instrument. This Amendment may be signed by facsimile signatures or other
electronic delivery of an image file (such as a .pdf file) reflecting the execution hereof, and, if so
signed: (a) may be relied on by each party as if the document were a manually signed original and
(b) will be binding on each party for all purposes.

E.      Captions. The headings to the sections of this Amendment have been inserted for
convenience of reference only and shall in no way modify or restrict any provisions hereof or be
used to construe any such provisions.

F.      Governing Law. This Amendment shall be governed, construed an interpreted in
accordance with the federal laws of the United States of America. In the event such federal laws
state no rule of decision with respect to any particular dispute or claim related to this Amendment,
the law of the State of Tennessee, except for Tennessee’s choice of law provisions, will apply.

IN WITNESS WHEREOF, the Parties have caused their duly authorized representatives to
execute this Amendment, effective as of the Effective Date.



TENNESSEE GAS PIPELINE COMPANY, L.L.C.


By: _ _______________________________

Name:

Title:




TENNESSEE VALLEY AUTHORITY


By:

Name:         A. Douglas Perry

Title:        Senior Vice President




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